                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA

ANNA MATHAI                                 CIVIL ACTION

VERSUS                                      NO: 12-2778

BOARD OF SUPERVISORS OF                     SECTION: R
LOUISIANA STATE UNIVERSITY
AND AGRICULTURAL AND
MECHANICAL COLLEGE AND STEVE
NELSON


                        ORDER AND REASONS

     Before the Court is defendants' motion to dismiss. For the

following reasons, the Court GRANTS the motion to dismiss of the

Board of Supervisors of Louisiana State University and GRANTS the

motion to dismiss of Dr. Steve Nelson.


I.   BACKGROUND

     This dispute stems from plaintiff Anna Mathai's dismissal

from the School of Medicine of the Louisiana State University

Health Sciences Center. According to her complaint, plaintiff was

admitted to the medical school in 2009 and performed well during

her first two years of the program.1 In July 2011, she sought

counseling with the school's Campus Assistance Program (CAP) and

reported that she had been hospitalized in May 2011 for an

adverse reaction to Adderall and feelings of a nervous




     1
          R. Doc. 1 at 3.
breakdown.2 Plaintiff told a CAP social worker that she had

previously smoked marijuana but states that she stopped using the

drug in August 2011.3

     On August 25, 2011, plaintiff signed a document entitled

"LSUHSC Fitness for Duty/Drug Testing Continuation of

Employment/Enrollment Contract."4 The contract stated that

plaintiff voluntarily entered into the agreement and that she

understood that, "in order to ensure [her] safety as well as the

safety of others," her continued enrollment at the medical school

was contingent on her compliance with any rehabilitation programs

or treatment guidelines mandated by CAP.5 CAP referred plaintiff

for an evaluation by Dr. Ary at Addiction Recovery Resources of

New Orleans, which resulted in Dr. Ary's recommendation that

plaintiff undergo drug screens but be permitted to continue with

her medical school duties.6 Plaintiff submitted to five drug

tests between November 2011 and January 2012 and tested

negative.7 But, after CAP received information that plaintiff may

have falsified her drug screens, CAP asked plaintiff to undergo a


     2
          Id.
     3
          Id. at 4.
     4
          R. Doc. 21-2.
     5
          Id.
     6
          R. Doc. 1 at 4.
     7
          Id.

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supervised drug screen on January 20, 2012.8 Plaintiff maintains

that she was unable to attend due to her clinical duties at the

medical school, and she submitted to an observed test on January

23, 2012, the following Monday.9 The test was negative but was

reported as a "dilute screen" that CAP considered suspicious.10

CAP then required plaintiff to complete a second "Fitness for

Duty/Drug Testing Continuation of Employment/Enrollment

Contract," which she signed on February 15, 2012.11 This document

provides in relevant part:

     I understand I was referred back to the LSUHSC Campus
     Assistance Program and Drug Testing Program on February
     13, 2012 due to the concerns on the administrative
     referral form. Due to the foregoing concerns during my
     enrollment/employment, LSUHSC has necessitated that
     specific terms be applied to my continuation of
     enrollment/employment at this time in order to ensure my
     safety as well as the safety of others.

     Therefore I, Anna Mathai, voluntarily enter into the
     following agreement in lieu of disciplinary action, to
     comply with the LSUHSC fitness for duty and substance
     abuse policies and to follow the standards mentioned
     above. . . .

     I understand that LSUHSC will allow me to continue my
     employment/enrollment under the following conditions:

     . . . .




     8
          Id.
     9
          Id.
     10
          Id. at 4-5.
     11
          R. Doc. 21-3.

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     5. I agree to follow the directions and recommendations
     of CAP. I will participate in all required activities of
     any rehabilitation program and/or C/EAP treatment plan I
     am involved in.

     6. I understand continuation of employment/enrollment is
     contingent upon entering into and successfully completing
     a treatment and/or aftercare program approved by LSUHSC
     and/or CAP and receiving a medical release form
     indicating my fitness for work/school.

     7. If I have tested positive for alcohol/drugs or have
     been diagnosed with an alcohol or drug problem I will
     submit to regular or irregular, unannounced and/or
     announced alcohol and/or drug screens as required by
     LSUHSC and my rehabilitation and/or CAP treatment plan.
     . . . I understand and acknowledge that the . . . results
     of any tests, subsequent alcohol/drug related misconduct,
     a subsequent alcohol/drug test result, or refusal to test
     will be grounds for immediate termination of my
     enrollment.

     . . . .

     11. I understand that any evidence of non-compliance with
     treatment   guidelines,    incomplete   treatment,   non-
     compliance with an aftercare program or failure to abide
     by any part of a Continuation of Employment/Enrollment
     Contract between LSUHSC and me will be grounds for
     immediate dismissal from the LSU School of Medicine.12

Notably, while the two "Fitness for Duty" contracts were

substantially similar, the first agreement provided that a

failure to comply with its terms could result in "suspension or

termination,"13 whereas the second provided that failure to

comply would be "grounds for immediate termination."14


     12
          Id. at 1-2 (first and third emphases added).
     13
          R. Doc. 21-2 at 2.
     14
          R. Doc. 21-3 at 2.

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     LSU then required plaintiff to undergo a three-day

evaluation at Palmetto Addiction Recovery Center. After

plaintiff's evaluation in March 2012, the attending physician at

Palmetto sent a letter to CAP in which he diagnosed plaintiff as

having "polysubstance dependence and narcissistic traits,"

despite her negative drug screens.15 The Palmetto physician

recommended that plaintiff enroll in a three-month inpatient

treatment program, which plaintiff refused to do because the

program would not allow her to continue her studies, and she

considered such action to be "unnecessary and extreme."16

     In a letter dated April 5, 2012, Steve Nelson, Dean of the

School of Medicine, dismissed plaintiff from the school.17 The

letter in its entirety read, "This is to inform you that pursuant

to your Continuation of Enrollment Contract you have been

dismissed from the LSUHSC-NO School of Medicine for failure to

abide by the terms of said contract and failure to comply with

the LSUHSC Fitness for Duty Policy."18 A month later, plaintiff

enrolled in an outpatient treatment program, which she

successfully completed in July 2012.19 Plaintiff's parents met


     15
          R. Doc. 1 at 5.
     16
          Id. at 6.
     17
          R. Doc. 21-4.
     18
          Id.
     19
          R. Doc. 1 at 6.

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with Dr. Nelson on May 15, 2012 and provided him with information

on plaintiff's treatment and evaluations.20 Dr. Nelson stated

that he would review the records and meet with plaintiff's

parents again. Over the next few months, plaintiff was evaluated

by two doctors, both of whom stated that she was fit to continue

with medical school.21 After receiving plaintiff's medical

records in July 2012, Nelson cancelled his meeting with

plaintiff's parents and indicated through an email sent by his

assistant that his position as to plaintiff's dismissal remained

unchanged.22

     On November 15, 2012, plaintiff brought an action under 42

U.S.C. § 1983 against the Board of Supervisors of Louisiana State

University and Agricultural and Mechanical College, on behalf of

the LSU Health Sciences Center Medical Center, and Dr. Steve

Nelson, individually and in his capacity as Dean of the School of

Medicine.23 Plaintiff contends that her Fifth and Fourteenth

Amendment rights were violated by her dismissal from the school

without due process.24 Plaintiff also asserts a breach of

contract claim, contending that defendants failed to follow the


     20
          Id. at 6-7.
     21
          Id. at 7.
     22
          Id. at 7-8.
     23
          R. Doc. 1.
     24
          Id. at 9.

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policies and procedures set forth in the school's student

handbook, codes of conduct, and the Council of Professional

Conduct's "Rules of Procedure."25 Plaintiff seeks both damages

and injunctive relief, requesting that the Court issue an

injunction enjoining defendants from dismissing plaintiff from

the School of Medicine or, alternatively, that the Court order

defendants to reinstate plaintiff.26 Defendants filed a motion to

dismiss, which is presently before the Court.27

     In considering a motion to dismiss for failure to state a

claim, a court must typically limit itself to the contents of the

pleadings, including their attachments. Collins v. Morgan Stanley

Dean Witter, 224 F.3d 496, 498 (5th Cir.2000). “If, on a motion

under 12(b)(6) or 12(c), matters outside the pleadings are

presented to and not excluded by the court, the motion must be

treated as one for summary judgment under Rule 56.” Fed. R. Civ.

P. 12(d). But uncontested documents referred to in the pleadings

may be considered by the court without converting the motion to

one for summary judgment, even when the documents are not

physically attached to the complaint. See Great Plains Trust Co.

v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 313 (5th

Cir.2002) (finding that the district court properly considered


     25
          Id. at 9-10.
     26
          Id. at 10-11.
     27
          R. Doc. 21.

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documents not attached to the complaint in ruling on a Rule 12(c)

motion). The court also may consider documents attached to a

motion to dismiss without converting it to a summary judgment

motion if the documents are referred to in the complaint and are

central to the plaintiff's claim. Causey v. Sewell

Cadillac–Chevrolet, Inc., 394 F.3d 285, 288 (5th Cir.2004)

(citation omitted). Accordingly, the Court will consider the

aforementioned "Fitness for Duty" contracts and the letter of

dismissal in resolving this motion to dismiss, since those

documents are referred to in the complaint and are central to the

claims in this case.


II.   STANDARD

      To survive a Rule 12(b)(6) motion to dismiss, the plaintiff

must plead enough facts to "state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). A claim is facially plausible "when the plaintiff pleads

factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct

alleged.” Id. A court must accept all well-pleaded facts as true

and must draw all reasonable inferences in favor of the

plaintiff. Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 239 (5th

Cir. 2009); Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).



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But the Court is not bound to accept as true legal conclusions

couched as factual allegations.       Iqbal, 556 U.S. at 678.

     A legally sufficient complaint must establish more than a

“sheer possibility” that plaintiff's claim is true. Id. It need

not contain detailed factual allegations, but it must go beyond

labels, legal conclusions, or formulaic recitations of the

elements of a cause of action. Id. In other words, the face of

the complaint must contain enough factual matter to raise a

reasonable expectation that discovery will reveal evidence of

each element of the plaintiff's claim. Lormand, 565 F.3d at 257.

If there are insufficient factual allegations to raise a right to

relief above the speculative level, or if it is apparent from the

face of the complaint that there is an insuperable bar to relief,

the claim must be dismissed. Twombly, 550 U.S. at 555; Jones v.

Bock, 549 U.S. 199, 215 (2007); Carbe v. Lappin, 492 F.3d 325,

328 n.9 (5th Cir. 2007).


III. DISCUSSION

     A. Claims against LSU Board of Supervisors

     1. § 1983 claim

     Defendants argue that plaintiff's suit against the Board of

Supervisors is improper because the Board is immune from suit as

an arm of the state. Sovereign immunity under the Eleventh

Amendment bars a state's citizens from suing the state or its



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agencies in federal courts. Cozzo v. Tangipahoa Parish Council-

President Gov't, 279 F.3d 273, 280 (5th Cir. 2002). When a state

agency is the named defendant, the Eleventh Amendment bars suits

for both money damages and injunctive relief, unless the state

has waived its immunity. Id. By statute, Louisiana has refused to

waive its Eleventh Amendment sovereign immunity against suits in

federal courts. See id. at 281; La. Rev. Stat. Ann. § 13:5106(A).

Courts consider the LSU Board of Supervisors to be an arm of the

state for purposes of Eleventh Amendment immunity. See, e.g., Raj

v. La. State Univ., 714 F.3d 322, 328 (5th Cir. 2013);   Dyess v.

La. State Univ. Bd. of Supervisors, No. 05-392, 2005 WL 2060915,

at *4 (E.D. La. Aug. 19, 2005). The LSU Board of Supervisors is

thus immune from liability for plaintiff's § 1983 claims. See,

e.g., Dyess, 2005 WL 2060915, at *4.

     Plaintiff nevertheless argues that her claims should not be

dismissed if the Court accepts defendants' contention that

plaintiff suffers from drug abuse or psychological disabilities,

because Congress abrogated state sovereign immunity in suits

alleging violations of the Americans with Disabilities Act (ADA).

See 42 U.S.C. § 12202. Since plaintiff has not brought a claim

under the ADA, the alleged effects of the ADA on the Board of

Supervisors' immunity are irrelevant.28 Accordingly, the Court

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          Plaintiff makes the same argument regarding her claims
against Dr. Nelson in his official capacity, but this contention
is also meritless, due to plaintiff's failure to bring a claim

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dismisses plaintiff's § 1983 claims under Rule 12(b)(1) for lack

of subject matter jurisdiction.


     2. Breach of contract claim

     Plaintiff also asserts a breach of contract claim against

defendants, arguing that the school's student handbooks, codes of

conduct, and the Council of Professional Conduct's "Rules of

Procedure" set forth procedures that must be followed before

disciplinary action is taken.29 Defendants argue that plaintiff's

behavior does not fall within the parameters covered by the

"Rules of Procedure." But, in fact, plaintiff's claim is barred

on jurisdictional grounds. Louisiana, and thus the Board of

Supervisors, has not waived its immunity in federal court for

state law claims. La. Rev. Stat. Ann. § 13:5106(A); Raj, 714 F.3d

at 329 (state law claims against LSU, including breach of

contract, barred by sovereign immunity); Griffith v. Louisiana,

808 F. Supp. 2d 926, 933 (E.D. La. 2011). Accordingly, the Court

also lacks subject matter jurisdiction over plaintiff's state law

claims against the Board of Supervisors, and dismisses those

claims pursuant to Rule 12(b)(1). See Howery v. Allstate Ins.

Co., 243 F.3d 912, 919 (5th Cir. 2001) ("[F]ederal courts must

address jurisdictional questions whenever they are raised and



under the ADA.
     29
          R. Doc. 1 at 9.

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must consider jurisdiction sua sponte if not raised by the

parties.").


     B. Claims against Dr. Nelson

     1. § 1983 claim against Dr. Nelson in official capacity

     Plaintiff's claims for money damages against Dr. Nelson in

his official capacity must also be dismissed. A suit against a

state official in his official capacity constitutes a suit

against the state itself, which is barred by the Eleventh

Amendment. See Will v. Mich. Dep't of State Police, 491 U.S. 58,

71 (1989). But plaintiff's claim for injunctive relief against

Dr. Nelson in his official capacity is not barred by state

sovereign immunity. The doctrine of Ex parte Young serves as an

exception to the rule that official capacity suits represent

suits against the state. A state official sued in his official

capacity for injunctive relieve is a "person" under § 1983,

"because 'official-capacity actions for prospective relief are

not treated as actions against the State.'" Will, 491 U.S. at 71

n.10 (quoting Kentucky v. Graham, 473 U.S. 159, 167 n.14 (1985));

Ex parte Young, 209 U.S. 123, 145-48 (1908).

     To determine whether a plaintiff may maintain claims against

a state official in his official capacity, "a court need only

conduct a straightforward inquiry into whether [the] complaint

alleges an ongoing violation of federal law and seeks relief



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properly characterized as prospective."   Verizon Md., Inc. v.

Pub. Serv. Comm'n of Md., 535 U.S. 635, 645 (2002) (internal

quotation marks omitted). The Fifth Circuit has held that "a

request for reinstatement is sufficient to bring a case within

the Ex parte Young exception to Eleventh Amendment immunity, as

it is a claim for prospective relief designed to end a continuing

violation of federal law." Nelson v. Univ. of Tex. at Dallas, 535

F.3d 318, 324 (5th Cir. 2008). Although in Nelson the Fifth

Circuit addressed the employment context, the court's holding

appears to apply when a plaintiff seeks reinstatement to an

educational program. See, e.g., Duncan v. Univ. of Tex. Health

Sci. Ctr. at Hous., 469 F. App'x 364, 367 (5th Cir. 2012)

(affirming dismissal of student's claims against school that

expelled him, because although he sought injunctive relief, he

named only the school as defendant, not state officials in their

official capacities); Dupree v. Belton, No. 10-1592, 2013 WL

701068, at *3-4 (W.D. La. Feb. 26, 2013) (considering whether

plaintiff's claim that school officials violated his rights in

refusing to overturn his suspension entitled him to prospective

injunctive relief). Because plaintiff alleges that her right to

due process was violated and seeks injunctive relief in the form

of reinstatement, her claim falls within the Ex parte Young

exception and is not barred by the Eleventh Amendment.




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     Defendants argue, however, that plaintiff has failed to

allege facts that establish a violation of federal law. Plaintiff

contends that Dr. Nelson violated her right to due process by

dismissing her from the medical school without notice and an

opportunity to be heard. To state such a claim, plaintiff must

allege facts sufficient to show (1) that she was deprived of a

liberty or property interest protected by the Due Process Clause,

and (2) that she was deprived of that interest without

constitutionally adequate process. LaCroix v. Marshall Cnty., 409

F. App'x 794, 803 (5th Cir. 2011). The Court assumes without

deciding that plaintiff has a property or liberty interest in her

continuing education at LSU. Defendant does not argue against the

existence of such an interest, and both the United States Supreme

Court and the Fifth Circuit have addressed due process claims by

postsecondary students without expressly stating that students

have a property or liberty interest in their studies. See, e.g.,

Bd. of Curators of the Univ. of Mo. v. Horowitz, 435 U.S. 78, 84-

85 (1978); Ekmark v. Matthews, No. 12-50808, 2013 WL 1363545, at

*1 (5th Cir. Apr. 5, 2013). But even assuming that plaintiff has

an interest protected by the Due Process Clause, her claim cannot

succeed because she was not denied due process.

     In Goss v. Lopez, the Supreme Court held that a student

subject to school disciplinary proceedings is entitled to some




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procedural due process.30 419 U.S. 565, 574 (1975). The Supreme

Court stated that a student must be informed of the charges

against him and, if he denies those charges, must be given an

opportunity to explain his version of the facts; but there “need

be no delay between the time ‘notice’ is given and the time of

the hearing.” Id. at 581-82. In Horowitz, the Supreme Court

distinguished dismissals for academic reasons from disciplinary

proceedings and held that the former do not require a hearing as

set forth in Goss before a student is dismissed. The Court

emphasized the significant difference between "the failure of a

student to meet academic standards and the violation by a student

of valid rules of conduct." Horowitz, 435 U.S. at 86. The Court

determined that action based on disciplinary reasons resembles

traditional judicial and administrative factfinding such that a

hearing provides "a meaningful hedge against erroneous action."

Id. at 88-89 (quoting Goss, 419 U.S. at 583). Conversely, the

decision that a student has not met a school's academic standards

is more subjective and based on an evaluation of cumulative

information and therefore not easily adapted to judicial

procedure or decision-making. Id. at 89-90. The Court thus held


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          In their motions, plaintiff and defendants focus on
plaintiff's right to procedural due process, and thus the Court
will not address whether plaintiff has stated a claim pursuant to
substantive due process. See, e.g., Regent of Univ. of Mich. v.
Ewing, 474 U.S. 214, 222 (1985) (assuming without deciding that
student's property right gave rise to substantive right under the
Due Process Clause).

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that Horowitz's dismissal from medical school for poor clinical

performance, based in part on unsatisfactory personal hygiene,

interactions with patients, and attendance, should be considered

academic, and plaintiff need not be afforded the process

described in Goss.

     Here, Fifth Circuit precedent compels a conclusion that

plaintiff's dismissal was academic. The plaintiff in Shaboon v.

Duncan had been dismissed from a medical residency program after

she exhibited signs of mental illness, refused to cooperate fully

with psychiatrists, and stopped taking her medication. 252 F.3d

722, 725-26 (5th Cir. 2001). The court characterized her

dismissal as academic, since it implicated her fitness to perform

as a doctor. Id. at 731 ("Although Shaboon's intransigence might

suggest that her dismissal was disciplinary, her refusal to

acknowledge and deal with her problems furnished a sound academic

basis for her dismissal."). In addition to receiving negative

evaluations, plaintiff's failure to follow the recommended

treatment led her to miss clinical rotations and caused doctors

to indicate that she was not ready to return to work. Id. The

court therefore found that Shaboon was not entitled to a hearing

and that her due process rights were not violated. Id.

     This case is similar to Shaboon. Plaintiff was dismissed

from medical school for failure to abide by the terms of the

"Fitness for Duty/Drug Testing Continuation of


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Employment/Enrollment Contract."31 That agreement requires, among

other things, that in order to be considered "fit for duty" to

serve as a health care professional, plaintiff was required to

"follow the directions and recommendations of CAP" and

"participate in all required activities of any rehabilitation

program and/or C/EAP treatment program" in which she was

involved.32 The contract stipulates that plaintiff's compliance

with those conditions was necessary "to ensure [her] safety as

well as the safety of others."33 It further provides that, in

order to "warrant the public confidence and trust bestowed upon

[her] as a health care professional," plaintiff was required to

"possess and maintain . . . emotional health and judgment, as

well as the ability to behave in a professional, reliable, mature

and responsible manner"34 -- qualities that would be threatened

by drug use and/or addiction. Cf. Shaboon, 252 F.3d at 731

(citing plaintiff's mental problems as a factor "related to her

fitness to perform as a doctor"). Evaluation of plaintiff's

progress, or lack thereof, in the area of emotional health and

judgment "is no less an 'academic' judgment because it involves

observation of her skills . . . in actual conditions of practice,


     31
          See R. Doc. 21-4.
     32
          R. Doc. 21-2; see also R. Doc. 21-3.
     33
          R. Doc. 21-3 at 1.
     34
          Id.

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rather than assigning a grade to her written answers on an essay

question." Horowitz, 435 U.S. at 95 (Powell, J., concurring); cf.

id. at 91 n.6 ("Personal hygiene and timeliness may be as

important factors in a school's determination of whether a

student will make a good medical doctor as the student's ability

to take a case history or diagnose an illness."); Shaboon, 252

F.3d at 731. It is clear from the "Fitness for Duty" contracts

that plaintiff could not be deemed fit to engage in her

professional duties unless she complied with the treatment

recommendations of CAP. Her refusal to follow those

recommendations after receiving a diagnosis of "polysubstance

dependence and narcissistic traits"35 "furnished a sound academic

basis for dismissal." Shaboon, 252 F.3d at 731.

     The foregoing analysis accords with authority in other

Circuits regarding the distinction between academic and

disciplinary dismissals. Surveying cases from the First, Sixth,

and Seventh Circuits, the District Court for the District of New

Mexico has distilled the principle that an academic dismissal

will be found "where a student's scholarship or conduct reflects

on the personal qualities necessary to succeed in the field in

which he or she is studying and is based on an at least partially

subjective appraisal of those qualities." Allahverdi v. Regents

of Univ. of N.M., 05-277 JB/JDS, 2006 WL 1313807, at *12-13


     35
          R. Doc. 1 at 5.

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(D.N.M. Apr. 25, 2006).36 For example, in Fenje v. Feld, the

Seventh Circuit determined that a medical resident was dismissed

for academic reasons after he failed to disclose on his

application an earlier dismissal from another residency program,

because that conduct impugned "his future credibility as a source

of information concerning the care of seriously ill patients."

398 F.3d 620, 625 (7th Cir. 2005); see also Yoder v. Univ. of

Louisville, No. 12-5354, 2013 WL 1976515, at *11 (6th Cir. May

15, 2013) (suggesting that nursing student's dismissal for

failure to comply with a confidentiality agreement should be

classified as academic rather than disciplinary where the school

"reasonably concluded that [plaintiff]'s apparent inability to

keep patient information confidential was an important

consideration in determining [her] suitability as a future

nurse"). Here, plaintiff's failure to abide by the university-

mandated treatment program after her diagnosis with

"polysubstance dependence and narcissistic traits"37 is a basis




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          The court acknowledged the breadth of this definition,
but determined that "a broad definition of academic is necessary
to protect what the Supreme Court has stated is 'the historic
judgment of educators' to evaluate their students' academic
abilities." Allahverdi, 2006 WL 1313807, at *13 (quoting
Horowitz, 435 U.S. at 90).
     37
          R. Doc. 1 at 5.

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for defendants to conclude that plaintiff was academically unfit

to continue in her medical training.38

     Because plaintiff's dismissal was academic, rather than

disciplinary, the only procedural safeguards required were "ample

notice" of the conditions upon which her continued enrollment was

predicated and "warning of the consequences that would follow

h[er] failure to" abide by those conditions. Shaboon, 252 F.3d at

730; see also Horowitz, 435 U.S. at 85 (no due process violation

when "[t]he school fully informed respondent of the faculty's

dissatisfaction with her clinical progress and the danger that

this posed to timely graduation and continued enrollment" and

when "[t]he ultimate decision to dismiss respondent was careful

and deliberate"); Ekmark, 2013 WL 1363545, at *2 ("Adverse

academic actions against medical residents require only the

minimum procedure of notice and not a hearing."). Under this

standard, plaintiff certainly received adequate process. She

received written notice on two occasions that her failure to

comply with the school's treatment requirements could result in

expulsion.39 The Fitness for Duty contracts clearly stated that

if plaintiff did not abide by their terms, she was subject to


     38
          The Court notes that offenses relating to a student's
ability to succeed in his or her chosen field are rendered no
less "academic" even if they could potentially subject the
student to disciplinary sanctions as well. Monroe v. Ark. State
Univ., 495 F.3d 591, 595 (8th Cir. 2007).
     39
          R. Docs. 21-2, 21-3.

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"immediate dismissal from the LSU School of Medicine."40 Under

Shaboon and Horowitz, no more is required.

        In sum, plaintiff is unable to show that her federal

constitutional rights were violated in connection with her

dismissal from the LSU School of Medicine. Accordingly, her §

1983 claims against Dr. Nelson in his official capacity must

fail.


        2. § 1983 claims against Dr. Nelson in individual capacity

        In addition, Dr. Nelson contends that plaintiff's complaint

fails to overcome his assertion of qualified immunity. Qualified

immunity shields public officials from suit and liability under §

1983, "unless their conduct violates clearly established

statutory or constitutional rights of which a reasonable person

would have known." Babb v. Dorman, 33 F.3d 472, 477 (5th Cir.

1994) (internal quotation marks omitted). When a defendant

invokes qualified immunity, the plaintiff bears the burden of

demonstrating that the defense is inapplicable through a two-

prong test. McClendon v. City of Columbia, 305 F.3d 314, 323 (5th

Cir. 2002) (en banc). Plaintiff first must "claim that the

defendants committed a constitutional violation under current

law." Atteberry v. Nocona Gen. Hosp., 430 F.3d 245, 253 (5th Cir.

2005). Plaintiff must then claim that defendants' actions were



        40
             R. Doc. 21-3 at 2; accord R. Doc. 21-2 at 2.

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"objectively unreasonable in light of the law that was clearly

established at the time of the actions complained of." Id.

     Because plaintiff has failed to state a claim for a

constitutional violation, she has failed to overcome defendant's

assertion of qualified immunity. Plaintiffs' § 1983 claims

against Dr. Nelson in his individual capacity must be dismissed.


     3. Breach of contract claim against Dr. Nelson

     Because plaintiff brings her breach of contract claim

against "defendants," the Court assumes that it is asserted

against both the Board of Supervisors and Dr. Nelson. The

Eleventh Amendment precludes federal courts from exercising

pendent jurisdiction over state law claims against state

officials in their official capacities, but not claims against

officials in their personal capacities. See Wilson v. UT Health

Ctr., 973 F.2d 1263, 1271 (5th Cir. 1992). Yet plaintiff has

failed to state a claim for breach of contract against Dr. Nelson

in his personal capacity. Regardless of any contract that

plaintiff may have formed with the school, she has not alleged

that Dr. Nelson was a party to the contract and thus liable for

its breach. See, e.g., Allen v. Tulane Univ., No. 92-4070, 1993

WL 459949, at *4 (E.D. La. Nov. 2, 1993) (dismissing breach of

employment contract claim against school dean, since he was not a

party to the contract). To deem Dr. Nelson a contracting party

would be to consider him in his official capacity as dean of the

                               22
school, and the Court lacks jurisdiction over such claims. See

Wilson, 973 F.2d at 1271. Accordingly, the Court dismisses

plaintiff's breach of contract claim against Dr. Nelson.


IV.   CONCLUSION

      For the foregoing reasons, the Court GRANTS defendants'

motion to dismiss plaintiff's § 1983 claims against the LSU Board

of Supervisors and Dr. Nelson (both in his official and

individual capacity), as well as plaintiff's breach of contract

claim against both defendants.


        New Orleans, Louisiana, this 17th
                                     __ day of July, 2013.

                   _________________________________
                             SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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